         Case 5:18-cv-00138-OLG-ESC Document 46 Filed 12/04/18 Page 1 of 3



                                    UNITED STATES DISTRICT COURT
                                  IN THE WESTERN DISTRICT OF TEXAS
                                        SAN ANTONIO DIVISION

 NANCY K. ALANIS                                                   §
                                                                   §
                                                                   §
 V                                                                 §
                                                                   §
                                                                                   Civil Action No. 5:18-cv-138-OLG
                                                                   §
 NATIONSTAR MORTGAGE, LLC                                          §
                                                                   §
 D/B/A MR. COOPER AND KELLY
                                                                   §
 HARVEY, P.C. D/B/A HARVEY LAW                                     §
                                                                   §
 GROUP

                        JOINT PROPOSED AMENDED SCHEDULING ORDER
                                ______________________________

     1. A report on alternative dispute resolution in compliance with Local Rule CV-88 shall be

          filed January 11, 2019.

     2. The parties asserting claims for relief shall submit a written offer of settlement to opposing

          parties by February 1, 2019 and each opposing party shall respond, in writing by February

          15, 2019.

     3. The parties shall file all motions to amend or supplement pleadings or to join additional

          parties by January 25, 2019.

     4. All parties asserting claims for relief shall FILE their designation of testifying experts and

          SERVE on all parties, but not file, the material required by Fed. R. Civ. P. 26(a)(2)(B) by

          February 8, 2019. Parties resisting claims for relief shall FILE their designation of

          testifying experts and SERVE on all parties, but not file, the materials required by Fed. R.

          Civ. P. 26(a)(2)(B) by March 8, 2019. All designations of rebuttal experts shall be FILED,

          and the materials required by Fed. R. Civ. P. 26(a)(2)(B) for such rebuttal experts, to the


JOINT PROPOSED AMENDED SCHEDULING ORDER                                                                      Page 1 of 3
Civil Action No. 5:18-CV-138-OLG; Nancy K. Alanis v. Nationstar Mortgage LLC d/b/a Mr. Cooper, et al.
         Case 5:18-cv-00138-OLG-ESC Document 46 Filed 12/04/18 Page 2 of 3



          extent not already served, shall be SERVED, within 15 days of receipt of the report of the

          opposing expert.

     5. An objection to the reliability of an expert’s proposed testimony under Federal Rule of

          Evidence 702 shall be made by motion, specifically stating the basis for the objection and

          identifying the objectionable testimony, within (11) days of receipt of the written report of

          the expert’s proposed testimony, or within (11) days of the expert’s deposition, if a

          deposition is taken, whichever is later.

     6. The parties shall complete all discovery on or before April 30, 2019. Counsel may by

          agreement continue discovery beyond the deadline, but there will be no intervention by the

          Court except in extraordinary circumstances, and no trial setting will be vacated because

          of information obtained in post-deadline discovery.

     7. The parties shall mediate this case on or before February 12, 2019, unless the parties seek

          an order from the Court excusing them from mediation.

     8. All dispositive motions shall be filed no later than May 15, 2019. Dispositive motions as

          defined in Local Rule CV-7(h) and responses to dispositive motions shall be limited to 20

          pages in length.

     9. This case is set for jury selection and trial on October ___, 2019 at 9:30 a.m. The parties

          should consult Local Rule CV-16(e) regarding matters to be filed in advance of trial.




JOINT PROPOSED AMENDED SCHEDULING ORDER                                                                 Page 2 of 3
Civil Action No. 5:18-CV-138-OLG; Nancy K. Alanis v. Nationstar Mortgage LLC d/b/a Mr. Cooper, et al.
         Case 5:18-cv-00138-OLG-ESC Document 46 Filed 12/04/18 Page 3 of 3



Respectfully submitted this 4th day of December, 2018,


 Justin Opitz, Texas Bar No. 24051140                                William M. Clanton, Texas Bar No. 24049436
 jopitz@mcguirewoods.com                                             bill@clantonlawoffice.com
 Elizabeth Chandler, Texas Bar No. 24097484                          LAW OFFICE OF BILL CLANTON, P.C.
 echandler@mcguirewoods.com                                          926 Chulie
 MCGUIREWOODS LLP                                                    San Antonio, TX 78216
 2000 McKinney Ave, Ste 1400                                         Telephone: 210.226.0800
 Dallas, TX 75201                                                    Facsimile: 210.338.8660
 Telephone: 214.932.6400
 Facsimile: 214 932 6499                      Andrew T. Thomasson, NJ Bar No. 048362011
                                              andrew@sternthomasson.com
 Attorneys for Nationstar Mortgage, LLC d/b/a STERN THOMASSON LLP
 Mr. Cooper                                   150 Morris Avenue, 2nd Floor
 Vaughan E. Waters, Texas Bar No. 20916700 Springfield, NJ 07081-1315
 vwaters@thorntonfirm.com                     Telephone: 973.379.7500
 Shavonne L. Smith, Texas Bar No. 24054956 Facsimile: 973.532.5868
 ssmith@thorntonfirm.com
 THORNTON, BIECHLIN, REYNOLDS, &              Attorneys for Nancy Alanis
 GUERRA, L.C.
 One International Centre – Fifth Floor
 100 N.E. Loop 410, Ste 500
 San Antonio, TX 78216
 Telephone: 210.342.5555
 Facsimile: 210.581.0296

 Attorneys for Kelly Harvey P.C. d/b/a Harvey
 Law Group




JOINT PROPOSED AMENDED SCHEDULING ORDER                                                                 Page 3 of 3
Civil Action No. 5:18-CV-138-OLG; Nancy K. Alanis v. Nationstar Mortgage LLC d/b/a Mr. Cooper, et al.
